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                                   STATEMENT OF FACTS

        I, John T. Denz, am a Special Agent with the Federal Bureau of Investigation assigned to
the Buffalo Division Joint Terrorism Task Force (JTTF) in Rochester, New York. In my duties as
a special agent, I investigate federal violations related to international and domestic terrorism, to
include firearms, narcotics, white collar, and violent crimes. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a special
agent I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        One mobile device recorded a young man, who identified himself as “Cody from
Rochester,” recovering from a recent exposure to pepper spray. In the video, Cody is pouring water
in his face to rinse the pepper spray from his eyes. Cody said he did not want to fight anyone and
was pushed.
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       Another individual in the photo was identified as James Phillip Mault seen in the previous
photo standing to the right of Mattice and wearing a red/brown colored hard hat. Mault praised
Mattice for confronting law enforcement officers after being pepper sprayed.
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       An anonymous complainant (herein referred to as “C1”) contacted the FBI National Threat
Operations Center (NTOC) to report James Mault breached the Capitol Building in Washington,
D.C. on January 6, 2021. Mault was described as wearing a hard hat with stickers, one of them
was the Ironworkers Local 33 Rochester, New York (NY). C1 claimed to have seen a picture of
Mault inside the Capitol Building and was standing beside the killed police officer.

        On January 13, 2021, the United States Secret Service (USSS) in Rochester, New York
(NY) passed the FBI information from an anonymous complainant (C2). The complaint consisted
of two photographs obtained from Reuters news organization of the January 6, 2021 riot at the
U.S. Capitol Building. C2 circled the back of the head of an individual wearing a red hard hat
covered in union themed stickers in both photographs. The individual in the red hard hat was using
a water bottle to rinse the eyes of an individual who had likely been exposed to a riot control agent.
The photograph of the individual in the red hard hat was taken in close proximity to a sally port
and windows where rioters were attempting to physically breach the Capitol Building. C2 wrote
underneath      the      first   photograph      JAMES       MAULT,       Rochester,      NY      and
https://youtu.be/ghncBZpUr2Q.

        Attempts to view the video identified by the complainant were unsuccessful as the video
had been blocked or removed from the website. Additionally, USSS in Rochester, NY was re-
contacted in an effort to obtain any additional detail or context as to how the complainant identified
the individual in the red hard hat as Mault. FBI Buffalo was informed no additional detail was
available and the relationship between the complainant and Mault was unknown.

        On January 17, 2021, FBI Washington D.C. sent FBI Buffalo additional photographs of
the rioter wearing the red hard hat. Examination of the photographs and in particular the union
decals on the hard hat revealed the individual was the same as the individual in the photograph
provided to FBI Buffalo on January 13, 2021 and identified by C2 as Mault.
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       A search of public records for James Mault identified two possible matches. After
reviewing the respective driver’s license photos from the Department of Motor Vehicles, FBI
Buffalo determined James Phillip Mault from Brockport, NY, was the individual wearing the red
hard hat at the Capitol on January 6, 2021.

       On January 18, 2021, Anita Mault, the mother of James Mault, was interviewed by FBI
Special Agents. Anita’s husband drove a bus of approximately five individuals to include her son,
James Mault, to attend the protest in Washington, D.C. on January 6, 2021. Anita Mault was shown
a photograph of an individual believed to be James Mault taken from the January 6, 2021 riot.
Anita Mault recognized the individual wearing the red hard hat as James based on the unique
characteristics of the hard hat, to include the specific union decals. Anita provided James' cellular
telephone number as xxx-xxx-9406.

        On January 18, 2021, James Mault was interviewed by FBI Special Agents. Mault admitted
to his attendance at the rally on January 6, 2021, in Washington D.C. Mault traveled with five of
his friends to the rally and stated it was important for everyone to have a group of friends that can
rely on each other these days. Mault claimed that he wore his hard hat from work because he was
aware of ANTIFA attacking Trump supporters after events in Washington, D.C. and the helmet
would provide some level of protection. Additionally, Mault's hard hat was covered in union
stickers to include Mault's union Ironworkers Local 33 of Rochester, NY.

        Mault described being caught up in the crowd and the mass of people pushed him closer
and closer to the Capitol Building. Mault claimed to have no choice but to move forward because
of the press of people behind him. Mault ended up right next to an entrance to the Capitol Building
but denied entering the Capitol Building. Mault also denied assaulting anyone or damaging
property. Mault acknowledged witnessing law enforcement officers being assaulted and property
destruction.

      Mault was shown a photograph of him using a water bottle to dowse the eyes of an
unknown male. Mault claimed to not know who the unknown male was but was trying to assist
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him after he had been exposed to a riot control agent. (Note: Through calls and emails to FBI tip
lines, the FBI received multiple tips which misidentified photographs of Mault taken from the
January 6, 2021. The FBI carefully assessed these leads and ruled them out as misidentifications.)

       “Cody from Rochester” was identified after receiving phone records associated with James
Mault’s number: xxx-xxx-9406. According to those records, on January 5, 2021, a number listed
as xxx-xxx-6506 was in contact with Mault. The phone number was identified on a public database
belonging to Cody Mattice, who was listed in a nearby township outside of Rochester. Further
examination of Mault’s recorded indicated Mattice had multiple contact with him after the riot on
January 7, 2021.

        Open source research and a Department of Motor vehicle search of Cody Mattice, date of
birth xx/xx/1992, revealed images closely resembling “Cody from Rochester.” The photograph
below was obtained from Mattice’s wife’s Facebook account.




         Mattice was listed as a historical resident of 8 Berry Street, Brockport, NY. Several
photographs of Mattice were shown to officer Elliott Cave of the Brockport Police Department,
including the photograph immediately above this paragraph; the photograph immediately below
this paragraph, which was a screenshot from video taken on the United States Capitol grounds on
January 6, 2021; and the first, third, and fourth photograph in the sequence on pages two through
three of this Statement of Facts, which show Mattice washing out his eyes after exposure
to chemical spray. Officer Cave positively identified Mattice as the person in each of
those photographs. Officer Cave has been with the Brockport Police Department for
approximately seven (7) years and has encountered Mattice on a few occasions, to include a
traffic stop which resulted in an arrest and a domestic disturbance.
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       During the events of January 6, 2021, another mobile device captured Mattice and Mault
confronting law enforcement officers at a barrier leading up to the Capitol. Mattice is later seen
ripping down the barrier, which gave access for the protestors to bypass law enforcement officers.
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       A review of a body worn camera from a Metropolitan Police Officer showed Mattice
climbing onto the ledge of the sally port outside the lower west terrace entrance. At approximately
4:06 P.M., the same body worn camera showed Mault spraying a chemical agent at law
enforcement officers with his left hand.
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      Based on an open source, seditionhunters.org, a photo of Mattice captured him using a
chemical agent in the direction of where law enforcement officers were known to be standing.
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Mault, who was standing next to Mattice, also sprayed the chemical agent in the same direction
with his left hand, which is likely the same incident from the aforementioned photo.




        An additional mobile device recorded Mault and Mattice from another angle outside the
sally port of the lower west terrace entrance spraying law enforcement officers with a chemical
agent. Mattice was also seen with the same water bottle in his mouth from the previous photo.
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       Mault received a small canister of a chemical agent from an unknown male in the crowd.
Mault then pointed the canister with his left hand in the direction of law enforcement officers.
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       The following Capitol CCTV footage from the lower west terrace entrance showed Mault
and Mattice using the chemical agent. Mault is seen at approximately 4:06 P.M., as indicated in
the previous body worn camera footage:
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       In the same video, Mault was given another small chemical agent canister, which appeared
to be pink in color. Mault then gave the canister to another individual, who used it toward law
enforcement officers.
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        Based on the foregoing, I submit that there is probable cause to believe that James Mault
and Cody Mattice violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to forcibly
assault, resist, oppose, impede, intimidate, or interfere with certain designated individuals, and to
use a deadly or dangerous weapon or inflict bodily injury during the commission of such acts.
Within the meaning of this statute, a designated individual is an officer or employee of the United
States or of any agency in any branch of the United States Government (including any member of
the uniformed services), while such officer or employee is engaged in or on account of the
performance of official duties, or any person assisting such an officer or employee in the
performance of official duties or on account of that assistance.

        I further submit that there is probable cause to believe that James Mault and Cody Mattice
violated 18 U.S.C. § 1752(a)(1)-(2) and (4) and (b)(1)(A), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; (4) knowingly engage in any act of physical violence
against any person or property in any restricted building or grounds; or attempts or conspires to do
so; and (b)(1)(A) to commit any of the aforementioned offenses with a deadly or dangerous
weapon or firearm. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        I submit there is also probable cause to believe that James Mault and Cody Mattice violated
40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
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in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (F) engage in an act of physical violence in the Grounds or any of the.

        Finally, I submit there is probable cause to believe that James Mault and Cody Mattice
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.



                                                     _________________________________
                                                     John T. Denz
                                                     Special Agent, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 5th day of October 2021.

                                                                            Zia M. Faruqui
                                                     ___________________________________
                                                     HONORABLE ZIA M. FARUQUI
                                                     UNITES STATES MAGISTRATE JUDGE
